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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-159V
                                      Filed: July 20, 2017
                                        UNPUBLISHED


    SUE WEAVER,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Ruling on Entitlement; Concession;
    v.                                                       Causation-In-Fact; Influenza (Flu)
                                                             Vaccine; Shoulder Injury Related to
    SECRETARY OF HEALTH AND                                  Vaccine Administration (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for petitioner.
Douglas Ross, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1
Dorsey, Chief Special Master:
       On February 2, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury as a result of
her October 6, 2015 influenza (“flu”) vaccination. Petition at 1. The case was assigned
to the Special Processing Unit of the Office of Special Masters.
        On July 18, 2017, respondent filed his Rule 4(c) report in which he concedes that
petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.




1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Specifically, respondent indicates that he has determined that “petitioner’s
alleged injury is consistent with a shoulder injury related to vaccine administration
(‘SIRVA’).” Id. Respondent further indicates

       DICP concluded that petitioner suffered a left-side shoulder injury and that
       the preponderance of the medical evidence indicates that the injury was
       causally related to the flu vaccination she received on October 6, 2015.
       DICP did not identify any other causes for petitioner’s injury, and based on
       the medical records outlined above, petitioner met the statutory
       requirements by suffering the condition for more than six months. See 42
       U.S.C. § 300aa-13(a)(1)(B); 42 U.S.C. § 300aa-11(c)(D)(I). Therefore,
       based on the record as it now stands, compensation is appropriate, as
       petitioner has satisfied all legal prerequisites for compensation under the
       Act.

Id. at 4-5.
     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.


IT IS SO ORDERED.


                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master
